      Case 13-50728-jrs          Doc 117 Filed 01/10/20 Entered 01/10/20 11:37:22                      Desc Order
                                      to close Ch 7 - Asset Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Jova/Daniels/Busby Incorporated                       Case No.: 13−50728−jrs
       400 Colony Square − Suite 700                         Chapter: 7
       1201 Peachtree Street N.E.                            Judge: James R. Sacca
       Atlanta, GA 30361−6319

       58−1021002




                         ORDER APPROVING ACCOUNT, DISCHARGING TRUSTEE
                                      AND CLOSING ESTATE



It appearing to the Court that

                                                    S. Gregory Hays



the Trustee in this case, has reduced the property and effects of the estate of the Debtor(s) to cash; that the Trustee has
made distribution thereof as required by the order of this Court and has rendered a full and complete account thereof,
and that the Trustee has performed all other and further duties required in the administration of the estate.

IT IS ORDERED that the accounts of the Trustee are approved and allowed, and that the estate is closed; that the
Trustee is discharged and relieved of the trust.




                                                             James R. Sacca
                                                             United States Bankruptcy Judge


Dated: January 10, 2020
Form 183
